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October 19, 2020 Upon the Govt's consent, the Deft's request
to adjourn the VOSR Interim Conf. from
Oct. 22, 2020 until Nov. 23, 2020 at 12:00

MEMO. ENDORSED

BY ECF noon is granted. Clerk of Court requested
Hon. Nelson S. Roman to terminate the motion (doc. 344).
United States District Court, SDNY

300 Quarropas Street Dated: Oct. 21, 2020

White Plains, New York 10601 SO ORDERED: ~ os

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Re: United States v. Dwayne Mountain ofA

Docket # 15 CR 5 (NSR) -11

 

HON. NELSON.S. ROMAN _ |
. UNITED STATES DISTRICT JUDGE.
Dear Judge Roman,

This matter is scheduled for a hearing/conference with regard to the
pending VOSR on Thursday, October 22. I will not be available, as I am ordered
to appear in person for a sentencing hearing in EDNY Brooklyn at noon.

I therefore respectfully request that this matter be adjourned_to
November 23, 2020 at 12 noon. I have discussed this matter with AUSA
George Turner and AUSA Benjamin Gianforti, and the Government consents to
this application. Ms. Sicora confirms the Court’s availability.

Thank you for your courtesy and consideration.

Respectfully yours,

JOHN S. WALLENSTEIN
JSW/hs
cc: AUSA George Turner (by ECF)
AUSA Benjamin Gianforti (by ECF)

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